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FoR THE wEsTERN DISTRICT oF TENNESSEE
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MICAEL CURSEY and MARY L. HUGHES, s itt teter-sms
Plaintiffs,

v. No. 03-2674 DfV
FICKRY RAPHAEL, UMA GROUP, LTD.
dib/a CONSULTANTS UMA, AVIS RENT A
CAR SYSTEM, INC., SIMON PROPERTY
GROUP, L.P., RALEIGH SPRING, LLC, and
SEARS, ROEBUCK, and CO.,

Defendants.

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ORDER DENYING AS MOOT, WITHOUT PREJUDICE, DEFENDANT SEARS
ROEBUCK AND COMPANY’S MOTION FOR SUMMARY JUDGMENT

 

Before the Court is Defendant Sears Roebuck and Company’ s (“Sears”) motion for summary
judgment (dkt. # 59). On April 14, 2005, Sears filed a notice of withdrawal of the affidavit ofLaura
Weeks. In that notice, Sears formally withdrew its summary judgment motion Without prejudice to
refiling. Thus, the instant summary judgment motion is denied as moot Without prejudice to Sears

refiling a summary judgment motion.

IT ls So 0RDERE1) this .Q,¢ g day ofMay, 2005.

    

B RNICE BO E DONALD
U ITED STATES DISTRICT JUDGE

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Honorable Bernice Donald
US DISTRICT COURT

